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       If youwishto attacha list of inventions,per paragraph
                                                           6, below,pleasecontactyourrecruiter.

       Microsoft CorporationEmployee
                                   Agreement
                                           ("Agreement")

       As a condition of my employmentwith MICROSOFT      CORPORATION("MICROSOFT"),
       Washington corporation,andin considerationof the compensation
                                                                  nowand hereafter paid to me,I
       agreeas follows:

       1. Bll~.L.l~,tfprtslM.o.gnl!gb_tlBg/_Gonfl!ctlng
                                                    .l_ntlr_elt, I willdiligently performmyassignedduties
       anddevotemyentire workingtime, abilities andefforts to suchduties andto furthering the best
       interests of MICROSOFT.     I understand that my duties include complying with MICROSOFT’s
       policies as published In the MICROSOFT    EmployeeHandbook     and as amended   from time to time
       in MICROSOFT’s   sole discretion, Including without limitation MICROSOFT’s     policies regarding
       disclosure of and approval of work outside MICROSOFT      ("moonlighting" activities). During
      employment,   I will not engagein any activity or investmentthat (a) conflicts with MICROSOFT’a
      businessinterests, (b) occupiesmyattention so as to Interfere with the proper and efficient
      performanceof myduties for MICROSOFT,      or (c) Interferes with the Independentexamlseof
      judgmentIn MICROSOFT’s     best interests. An investment of less than 1%of the shares of a
      company  traded on ¯ registered stock exchange is not a violation of this paragraph,so long as my
      investmentactivity is consistentwith MICROSOFT’s   policies.
       2. Employrpeot_To.r.mt_rj.abJe_At
                                       WII!,_W!Jb.(;~r_Wlth_O~lLC.aus_q, I acknowledge andagreethat my
      employment  with MICROSOFT is not for any specific or minimum    term, that its continuation is
      subject to MICROSOFT’s  and mymutualconsent, and that it is terminable at will, meaningthat
      either MICROSOFT or I will be free to terminate myemployment   at any time, for any reasonor no
      reason,with or without cause,andwith or without notice, pre-terrninationwarningor discipline, or
      other pre- or post-termination proceduresof any kind. I acknowledge     and agree that any prior
      representationsto the contraryare void andsuperseded  by this Agreement. I amnot entitled to rely
      andI shall not rely on anyfuture representations to the conVary,whetherwritten or verbal, express
      or implied by any statement,conduct,policy, handbook,   guideline or practice of MICROSOFT or its
      employees or agents. Anysuchfuture contrary representationswill not modify this Agreement       or
      myat-will status. Notwithstanding the foregoingandparagraph15 below,myat-will status maybe
      modified only by a formal written "Employment     Contract" signed by meand by an officer of
      MICROSOFT  and containing languageexpressly stating MICROSOFT’s        agreementto modify the
      termsof this Agreement andmyat-will status.
       3. Non-0klclol.ure. Duringmyemployment   and at all times thereafter, I will neither disclose to
      anyoneoutside MICROSOFT     nor use for any purposeother than mywork for MICROSOFT        (a) any
      confidential or proprietaryinformationor trade secretsof MICROSOFT  or its subsidiariesor (b) any
      informationreceivedby MICROSOFT  or Its subsidiadesfromothersthat the recipient Is obligatedto
      treat as confidential or proprietary. In addition, I will not discloseconfidential or proprietary
      information or trade secrets to other MICROSOFT     employees except on a "need-to-know"basis.
      For purposesof this paragraph  andparagraphs 9 and10, "confidential or proprietaryinformationor
      trade secrets"means  all data andInformationin whateverform, tangible or intangible, that is not
      generally knownto the public and that relates to the business,technology,practices, products,
      marketing,sales, services, finances,or legal affairs of MICROSOFT or its subsidiariesor anythird
      party doing businesswith or providing information to MICROSOFT    or its subsidiaries, including
      without limitation information about actual or prospective customers,suppliers and business
      partners; non-public information about employees,such as contact information, job duties or
      descriptions, compensation and performance;business,sales, marketing,technical, financial and
      legal plans, proposalsandprojections; andconcepts,techniques,processes,methods,systems,
      designs,programs,code,formulas, research,technologies,features of technologies,experimental
      work and workin progress. If I have any questions as to what comprisessuch confidential or
      proprietaryinformationor trade secrets,or to whom  if anyoneit maybe disclosed,I will consultmy
      manager.I agree that MICROSOFTs   subslcllarles are Intendedthird-party beneficiaries of this
      paragraphandparagraph10. I also agreeto cooperatewith MICROSOFT       In its efforts to ascertain
      and assure mycompliancewith this paragraphand paragraph10, even after myemployment           with
      MICROSOFT   ends.
      4, Copyrights, I acknowledge  and agree that any and all copyrightable w~rks_or_emarecl_bv    me




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      within the scopeof myemployment    by MICROSOFT  will be worksmade for hire, that MICROSOFT
      will ownell rights undercopyrightin endto suchworks,andthat MICROSOFT     will be considered
      the authorof all suchworks.If andto the extentthat anyJurisdictionshouldfail to deem    any
      copyrightableworkpreparedby mewithin the scopeof myemployment          by MICROSOFT to be a
      workmadefor hire ownedby MICROSOFT,      I herebyIn’evooablyassignto MICROSOFT   all dght=,
      title andinterestin andto suchwork.
      5, N.tw_JriyeMtlomt, I will promptiyandfully discloseto MICROSOFT    anyandall inventions,
      dis=ovaries,designs,developments,   improvements  andtrade Ncretl, whetheror not patentable
      (collectively "Inventions’)that I solely or Jointly mayconceive,develop,reduceto practice
      otherwiu produceduring myemployment       with MICRO~K)FT.  Subjectto the NOTICE   below,
      agreeto grant and I herebygrant, transfer andamdgn       to MICROSOFT all mydgh~,Utle and
      interest In andto suchInventions.I waiveendquitdairhto MICROSOFT    anyandall claimsof any
      naturewhataoever  that I nowor hereaftermayhavefor Infringement   of anypatentapplication,
      patent,or otherIntellectualpropertyrtght relatingto anyInventionsso assignedto MICROSOFT.




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        NOTICE:
             Myobligation to assignshall not applyto anyInvention that:

               a)      wasdevelopedentirely on myownt mewithout using any equipment,supplies,
                       facilities, or trade secret Informationof MICROSOFT;
               b)      doesnot relate (i) directly to the businessof MICROSOFT
                                                                           or (ii) to the actual
                       demonstrablyanticipated research or developmentof MICROSOFT;  and

               c)     doesnot result from any work performedby mefor MICROSOFT.

         I will assignanddo herebyassignto MICROSOFT   or its designeeall mydghts, title andinterest in
        and to any and all Inventions full title to which, maybe required to lie In the United States
        govemment  by law or by any contract betweenMICROSOFT      and the United States governmentor
        anyof its agencies.In addition to the rights providedto MICROSOFT     underparagraph6 below,as
        to anyInvention complyingwith 5(a)-(c) abovethat results in any product, service or development
        with potential commemial application, MICROSOFTshall be giventhe right of first refusal to obtain
        exclusiverights to the Inventionandsuchproduct,service or development.
        6. ~cllu_dgd andLI.qertltclJnyQntign!l, I haveattacheda list describingall Inventionsthat I am
       currently developingand all Inventions belongingto meand madeby meprior to myemployment
       with MICROSOFT  that I wish to haveexcludedfrom this Agreement.    If no suchfist is attached, I
       representthat there are no suchInventions.As to anyInvention In whichI havean interest at any
       time prior to or duringmyemployment,   if I useor incorporatesuchan InventionIn anyreleasedor
       unreleased MICROSOFT     product, service, program, process, machine, developmentor work in
       progress, or if I permit MICROSOFT      to use or incorporate such an Invention, MICROSOFT     is
       herebygrantedandshall havean Irrevocable,perpetual,royalty-free, worldwidelicense to exercise
       anyandall rights with respectto suchInvention, includingwithout limitation the right to protect,
       make,havemade,useandsell that Invention without restriction andthe right to sublicensethose
       rights to others. Thislicenseshall be exclusive,subjectto anypreexistingnon.exclusive licensesor
       otherpre-existingdghtsnot subjectto mycontrol.
       7. Documentation of Int=llect,-I Prooerty_RI,’,h~_. I agreeto execute,acknowledge,    verify and
       deliver to MICROSOFT,    or cause the sameto-be accomplished,any and all further documents
       (including without limitation patentapplications, certificates of authorship,andotherinstruments
       appropriatefor the protection andenforcement  of intellectual propertyrights throughoutthe wodd)
       that MICROSOFT   mayreasonably deemnecessary or appropriate to parry out, evidence or
       effectuate the purposesor intent of this Agreement.    Myobligations underthis paragraph7 will
      applyboth duringandindefinitely after the termof employment.     If for anyreasonwhatsoeverI fall
      to execute, acknowledge, verify or deliver any such documentreasonably requested by
      MICROSOFT,  I herebyIrrevocably appoint MICROSOFT    and Its duly authorized officers and agents
      as myagentandattorney in fact, to act in mystead to execute,acknowledge,      vedfyanddeliver any
      such dooumont(as applicable) with the samelegal force and effect as if doneby me,
      furtherance of this Agreement,I will testify at MICROSOFT’s      request and expensein any legal
      proceedingarising during or after myemployment.
      8. Prior Emnloversand Obllaationa. I represent and warrant that my employmentwith
      MICROSOFT will not violate anycontractualor otherobligationsI have.I will neither useduringmy
      employment  with MICROSOFT  nor disclose to MICROSOFT any trade secrets or information that !
      amrequiredto keepconfidential relating to myformeremployers,principals, partners, co-venturers,
      clients, customersor suppliers, and I will not bring onto MICROSOFT’s premisesany unpublished
      document or any property belongingto anysuchpersonsor entities without their consent.I will
      honorall non-disclosure,proprietary rights, or other contractual agreementsI mayhavewith any
      person or entity, and I have disclosed to MICROSOFT   all such agreementsthat maybear on my
      employmentwith MICROSOFT.
      9. OwnershiD and Returnof Materla!_a.I acknowledge    and agreethat I will haveno ownershipor
      privacy interest in materials, data or information storedon or transmittedusing MICROSOFT-owned
      or MICROSOFT-leased   property or equipment, all of which shall be subject to access by
      MICROSOFT   at any time without notice. Whenmy employmentby MICROSOFT           ends, I will
      immediatelyreturn to MICROSOFT  all papers, drawings,notes, manuals,specifications, designs,
      devices, code, small, documents,diskettes, CDsand tapes created during or related to my




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        employment   with MICROSOFT, as well as any other material in any form or mediacontaining any
        confidential or proprietaryinformationor trade secrets. I will also retumall keys, accesscards,
        credit cards, identification cards andother property and equipment   belongingto MICROSOFT.
        10. Non_~ompotltio_rl_and  No_o..~l/lic.itatio.n, Whileemployed   at MICROSOFT and for a period of
       one year thereafter, I will not (a) engagein anycompetitiveactivities or acceptemployment      by
       agreeto provideservicesto anypersonor entity that engages     in competitiveactivities (’competitive
       activities" meaning  the development,   productionor provision of anyproduct, service, technology,
       product feature or project that is or is intendedto be competitive with one or moreproducts,
       services, technologies,productfeatures or projects, including actual or demonstrably     anticipated
       researchor development,    on which I workedor about whichI learned confidential or proprietary
       information or trade secrets while employedat MICROSOFT         or a MICROSOFT subsidiary) or (b)
       encourage,  induce, attemptto Induce,or assist anotherto Induceor attemptto induceany person
       employedby MICROSOFT       or by one of MICROSOFT’s      subsidiaries to terminate his or her
       employment   with MICROSOFT  or Its subsidiary or to work for any entity other than MICROSOFT     or
       its subsidiary. Further, for a period of one year after the terminaUonof myemployment           with
       MICROSOFT,   I agreethat I will not render services to any client or customerof MICROSOFT        for
       which I performedservices durtng the twelve monthsprior to leaving MICROSOFT’$           employ. If
       during or after myemployment      with MICROSOFT  I seek work elsewhere,whether as an employee,
       consultant or in any other capacity, I will providea copyof this Agreement      to all personsand
       entities by whomI amseeking to be hired or with whomI amseeking to do business before
       acceptingany employment    or engagement  by them.I agreethat the restrictions In this paragraph
       are reasonablein light of, among   other things, the global andhighly competitivemarketsin which
       MICROSOFT  and its subsidiaries operate.
       11..!~_tlm_b~rl~llD.qt!.tn I hereby authorize MICROSOFT,     at any time during myemployment      or
       following mytermination, to withhold from any moniesit otherwiseowesme(including without
       limitation salary, bonus,commissions,expensereimbursements,and ESPPrefunds) any and all
       moniesdue from meto MICROSOFT         (including without limitation cash and travel advances,
       amountsI owethe Company       Store, overpaymentsmadeto meby MICROSOFT,         amountsreceived
       by medue to MICROSOFT’s      error, unpaid credit or phonecard charges, and any debt I owe
       MICROSOFT  for any reason, Including without limitation misuseor misappropriationof company
       assets). Further, I agreethat MICROSOFT      maycondition the exercise of any stock optlone I may
       receiveby requiring meto (a) sell a sufficient number   of sharesto generatecashto repayanysuch
       amountsI oweto MICROSOFT       and (b) remit such cash to MICROSOFT.    At the termination of
       employmentwith MICROSOFT      or at any other Umeupon reasonable noUce, I agree to execute
       whatever documentationmaybe necessary to authorize MICROSOFT           to makethe withholdings
       describedIn this paragraph.
       12. personal Prooerty. I agree that MICROSOFTis not responsible for loss of or damage to my
       personalproperty on MICROSOFTpremisesor, if applicable, on residential premisessubsidizedby
       MICROSOFT (including without limitation apartments or temporary housing). I will hold
       MICROSOFTharmlessfrom any andall claims relating to suchpersonalproperty.
       13, ~ I acknowledgethat any violation of paragraphs 1, 3, 4, 5, 6, 7, 9, or 10 of
       this Agreement  by mewill causeirreparable injury to MICROSOFT   and shall entitle MICROSOFT to
       equitablerelief by a court, including withoutlimitation temporary
                                                                       restraining ordersandpreliminary
       andpermanent  injunctions, whichmayextendanypreviouslyagreedperiod of restraint.
       14. Non-Waiver   andAttorneys’ Fees. Waiverby either meor MICROSOFT        of strict performance
       of any provision of this Agreement,whetheron one or morethan one occasion, shall neither
       constitutea waiverof, nor prejudiceeither party’s dght to require,strict performanceof the sameor
       anyother provision in the future. If court proceedingsare broughtto enforce or interpret any
       provision of this Agreement,  the prevailing party shall be entitled to an awardof reasonableand
       necessaryexpenses of litigation, includingwithoutlimitation reasonable attomeys’fees.
       15. General.I agree that this Agreement   shall be governedfor all purposesby the laws of the
       State of Washington as suchlaws applyto contracts performedwithin Washington   by its residents
       and that exclusive venueand exclusive personaljurisdiction for any action adslng out of this
       Agreementshall lie In state or federal court locatedin KingCounty,Washington.
                                                                                   If anyprovisionof
       this Agreement is deemed to be excessivelybroad, that provision shall be narrowedto the extent
       necessaryto makeit enforceableand then enforcedto the maximum     extent permissible by law. If




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       anyprovisionof this Agreement   is determined to be void andcannotbe savedby a narrowing
       construction,that provisionshall beseveredfromthis Agreement   andthe otherprovisionsshall
       remainin full force andaffect. ThisAgreement sets forth the entire agreementof MICROSOFT
                                                                                              and
       myselfas to the subjectsdiscussed  herein, andit maynot be modifiedexceptby a subsequent
       wdttenagreement   signedby meandby an omcerof MICROSOFT.       Paragraph headingsappearas
       anaid to the readerandshall not beconstrued to limit anyprovisionof this Agreement.
                                                                                         Theterms
       andconditionsof this Agreement  shall suwivaterminationof myemployment.   I understandthat
       this AgreementIs important,andI havehadadequate  timeto readit beforesigning.
       Z HAVEREADANDFULLYUNDEICIITOOD
                                    THZSAGREEMENT.
                                                BY SZaNZNe
                                                         BELOW,
                                                              Z AaRSS1"O all   SOUND
                                                                                   BY ALL OF][’Ir’s
       TERNS,

       Your electronic signature Is: Nlkl Hullor

       You submitted this   document on Thu, 24 Nov 2005 10:17:02 GMT.




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    Candidate
           Portal
                - Micro.._
                        Careers                                      ~           Page1 ofI




        Miki Mullor Inventions

       Prior inventions-

       USPatent 6,411,941
       USPatent application 20030120938

       Prior products:

       Internet Strong Authenticationusing the PCBIOSas a key storagecontainer

       Yourelectronic signatureIs: Mlkl Hullor

       Yousubmitted this documenton "rue, 31 Jan 200602:25:51 GMT.




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